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12

13                            UNITED STATES DISTRICT COURT

14                        NORTHERN DISTRICT OF CALIFORNIA
                                       OAKLAND DIVISION
15
     EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH
16

17                   Plaintiff, Counter-defendant, Case No. 4:11-cv-06714-YGR-TSH

18                       v.                           Case No. 4:19-cv-03074-YGR-TSH

19   APPLE INC.,                               DECLARATION OF GARY A.
                                               BORNSTEIN IN SUPPORT OF EPIC
20                 Defendant, Counterclaimant. GAMES, INC.’S MOTION FOR
                                               ADMINISTRATIVE RELIEF TO
21
                                               ACCESS SEALED FILINGS IN
     IN RE APPLE IPHONE ANTITRUST              RELATED CASES
22   LITIGATION.
23                                             Judge: Hon. Yvonne Gonzalez Rogers

24   DONALD R. CAMERON, et al.,
25                                      Plaintiffs,
26                       v.
27
     APPLE INC.,
28
                                       Defendant.
                          DECLARATION OF GARY A. BORNSTEIN
     Case Nos. 4:20-cv-05640-YGR-TSH; 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH
           Case 4:20-cv-05640-YGR Document 808-1 Filed 08/20/21 Page 2 of 4

 1          I, Gary A. Bornstein, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of New York and admitted to

 3   appear before this Court pro hac vice in Epic Games, Inc. v. Apple Inc., Case No. 4:20-cv-

 4   05640-YGR-TSH. I am a partner at the law firm of Cravath, Swaine & Moore LLP and am one

 5   of the attorneys representing Epic Games, Inc. (“Epic”) in the above-captioned action.

 6          2.      I submit this declaration in support of Epic’s Motion for Administrative Relief

 7   to Access Sealed Filings in Related Cases. The contents of this declaration are based on my

 8   personal knowledge except as to matters stated on information and belief. As to those matters

 9   stated on information and belief, I am informed and believe them to be true. If called to be a

10   witness, I could and would testify competently to the contents of this declaration.

11          3.      On May 31, 2021, counsel for Defendant Apple Inc. (“Apple”) sent a letter by

12   email to counsel for Epic, and the attorneys representing the plaintiffs in the related class

13   actions. In that letter, Apple’s counsel wrote: “With the conclusion of the trial in Epic Games,

14   Inc. v. Apple Inc., Case No. 4:20-cv-05640-YGR-TSH (N.D. Cal.), it is no longer appropriate

15   to coordinate discovery efforts with Epic pursuant to the Court’s Order Regarding Coordination

16   of Discovery.” A true and correct copy of Apple’s May 31, 2021 letter is attached to this

17   declaration as Exhibit A.

18          4.      On June 2, 2021, counsel for the developer plaintiffs asked Apple to “confirm

19   that Apple is not objecting to Developer Plaintiffs sharing their sealed class certification

20   submissions with Epic.” On June 3, 2021, counsel for Apple responded: “Apple sees no

21   reason or basis for Developer Plaintiffs to share their sealed class certification submission with

22   Epic’s counsel. We want to reiterate that Consumer and Developer Plaintiffs should not send

23   any new materials to Epic’s counsel as discovery and trial have already concluded in the Epic

24   matter.” A true and correct copy of these emails is attached to this declaration as Exhibit B.

25          5.      On June 16, 2021, I sent a letter to counsel for Apple responding to its May 31,

26   2021 letter and June 3, 2021 email. This letter informed Apple of Epic’s position that “Apple

27   has no basis to prevent Epic from receiving the class certification filings” and explained Epic’s

28   need for these filings. The letter also objected to Apple’s refusal to “continue producing


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                           DECLARATION OF GARY A. BORNSTEIN
      Case Nos. 4:20-cv-05640-YGR-TSH; 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH
           Case 4:20-cv-05640-YGR Document 808-1 Filed 08/20/21 Page 3 of 4

 1   discovery to Epic pursuant to the terms of the Coordination Order.” A true and correct copy of

 2   Epic’s June 16, 2021 letter is attached to this declaration as Exhibit C.

 3           6.       On June 25, 2021, counsel for Apple sent a letter to counsel for Epic responding

 4   to my June 16, 2021 letter. Counsel for Apple wrote that Apple was rejecting Epic’s request

 5   “that Apple continue producing discovery to Epic pursuant to [the Coordination] Order”.

 6   Counsel for Apple also wrote that “Apple is under no obligation to allow Epic to receive class

 7   certification filings in the related matters” and declined Epic’s request to provide the

 8   unredacted class certification filings to Epic. A true and correct copy of Apple’s June 25, 2021

 9   letter is attached to this declaration as Exhibit D.

10           7.       On July 8, 2021, counsel for Apple sent a letter to counsel for non-party

11   Microsoft Corp. Apple reiterated its previous request for Microsoft’s communications with

12   Epic, Epic’s counsel, and Epic’s experts. A true and correct copy of Apple’s July 8, 2021 letter

13   is attached to this declaration as Exhibit E.

14           8.       On July 15, 2021, counsel for Epic and counsel for Apple met and conferred

15   regarding this dispute.

16           9.       On July 21, 2021, counsel for Apple “confirm[ed] Apple’s position that Epic is

17   not entitled to continued discovery now that discovery and trial have ended in the Epic case,

18   and having opted out of the developer class, Epic is not entitled to sealed filings from the class

19   actions”.

20           10.      On August 10, 2021 and August 11, 2021, Apple filed its oppositions and

21   related pleadings in connection with the consumer and developer plaintiffs’ motions for class

22   certification.

23           11.      On August 13, 2021, counsel for Epic sent an email to counsel for Apple

24   seeking unredacted copies of Apple’s August 10, 2021 and August 11, 2021 filings. Later that

25   day, Apple informed counsel for Epic that “Apple’s position on this issue is unchanged.” A

26   true and correct copy of these emails is attached to this declaration as Exhibit F.

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                           DECLARATION OF GARY A. BORNSTEIN
      Case Nos. 4:20-cv-05640-YGR-TSH; 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH
           Case 4:20-cv-05640-YGR Document 808-1 Filed 08/20/21 Page 4 of 4

 1          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is

 2   true and correct and that I executed this declaration on August 20, 2021, in Riverside,

 3   Connecticut.

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                                                       /s/ Gary A. Bornstein
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                                                       Gary A. Bornstein
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                           DECLARATION OF GARY A. BORNSTEIN
      Case Nos. 4:20-cv-05640-YGR-TSH; 4:11-cv-06714-YGR-TSH; 4:19-cv-03074-YGR-TSH
